        Case 2:18-cv-04484-JVM Document 110-1 Filed 06/05/19 Page 1 of 3


                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
____________________________________
                                     )
 NICOLE DUCHARME,                    )
            Plaintiff,               )
      v.                             )
                                     ) No. 18-cv-04484-LMA-JVA
 CRESCENT CITY DÉJÀ VU, LLC.         )
 MARY SALZER, DOES 1-10, and ABC     )
 COMPANIES 1-10                      )
                                     )
           Defendants.               )


                        MEMORANDUM IN SUPPORT OF MOTION
                         FOR LEAVE TO FILE AMICUS LETTER
                          ON BEHALF OF INTERESTED PARTY

      Stuart H. Smith Law Clinic and Center for Social Justice (Loyola Law Clinic), local

counsel on behalf of interested party, Amicus, National Employment Law Project (NELP) moves

for leave to file Amicus Letter, attached as Exhibit A, into the record for the Court’s

consideration.

                               I.   Statement of Interest

   The National Employment Law Project (NELP) is a non-profit legal organization with 50

years of experience advocating for the employment and labor rights of workers. NELP supports

work-place policies that strengthen state and federal employment and labor protections for all

workers, especially the most vulnerable, such as tipped workers. Work-place rights under state

and federal employment and labor laws, with an emphasis on wage and hour rights are NELP’s

particular areas of expertise. NELP has supported the expansion of rights to tipped workers and

raising the minimum wage in numerous instances, including litigation support, amicus briefs,

Congressional and state testimony, filing comments on proposed rules, including the regulation




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          Case 2:18-cv-04484-JVM Document 110-1 Filed 06/05/19 Page 2 of 3


at issue in this case, and research reports.1 NELP has been involved with the notice and comment

period of 29 C.F.R. §531.59, since it's initial proposal in 2008 to its final issuance in 2011. NELP

commented most recently in this area on the Department’s 2017 proposal to change the tip

regulations.2

                  II.     NELP’S Amicus Letter Is Useful Because There Is
                          Little Guidance On This Matter Under Fifth Circuit Law

      NELP’s Amicus Letter will address the history and validity of the regulations at 29 C.F.R.

§531.59, and the notice due to tipped workers under the regulation and the statute at 29 U.S.C.

§203(m).



                  III.                    Conclusion

      For the foregoing reasons, it is respectfully requested that this Court grant this Motion and

file the Amicus Letter On Behalf of Interested Party, NELP, attached as Exhibit A, into the

record.




1
  National Employment Law Project, Minimum Wage Basics: Overview of the Tipped Minimum Wage
(Apr. 2015), https://www.nelp.org/wp-content/uploads/Basics-Tipped-Minimum-Wage.pdf; National
Employment Law Project On the Michigan Legislature’s Passage of A $12 Minimum Wage for All
Workers and Paid Sick Leave (Sept. 7, 2018) (citing to the seven states that have fully eliminated the
subminimum wage for tipped workers), https://www.nelp.org/news-releases/on-the-michigan-legislatures-
passage-of-a-12-minimum-wage-for-all-workers-and-paid-sick-leave/ (showing how Michigan recently
adopted legislation that will gradually eliminate the subminimum wage for tipped workers). See also,
National Employment Law Project et al., Broken Laws, Unprotected Workers: Violations of Employment
and Labor Laws in America’s Cities (Sept. 2009), http://www.nelp.org/publication/broken-laws-
unprotected-workers-violations-of-employment-and-labor-laws-in-americas-cities/; National Employment
Law Project, St. Paul Should Reject a Lower Minimum Wage for Tipped Workers (May 2018),
https://s27147.pcdn.co/wp-content/uploads/St-Paul-Should-Reject-a-Lower-Minimum-Wage-for-Tipped-
Workers.pdf.
2
  National Employment Law Project comment on Wage and Hour Division Proposed Rule, Tip
Regulations Under the Fair Labor Standards Act, 82 Fed. Reg. 57,395 (December 5, 2017), available at:
https://www.regulations.gov/document?D=WHD-2017-0003-215930.

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Case 2:18-cv-04484-JVM Document 110-1 Filed 06/05/19 Page 3 of 3




                                        Respectfully submitted,


                                        Stuart H. Smith Law Clinic And
                                        Center For Social Justice

                                        On Behalf Of National Employment
                                        Law Project

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